Case: 4:04-cr-00245-DAP Doc #: 1375 Filed: 06/11/07 1 of 2. PageID #: 4550




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION



  UNITED STATES OF AMERICA,                           )   CASE NO. 4:04-cr-245-38
                                                      )
            Plaintiff,                                )
                                                      )
  vs.                                                 )   Judge Peter C. Economus
                                                      )
  LORRIE A. WISE,                                     )
                                                      )
            Defendant.                                )   ORDER




            On January 10, 2007, the Defendant appeared before the Court for a hearing based on her

 probation officer’s report that she violated the terms of her supervised release. At that hearing, the

 Defendant admitted to the violations and was sentenced to ten months imprisonment. The Court

 held the sentence in abeyance. See, (Dkt. # 1344). The Court ordered that the Defendant continue

 to participate in the inpatient program at the Warren Family Mission and further ordered that the

 Defendant participate in substance abuse and mental health treatment as directed by her probation

 officer.

            On May 31, 2007, the Defendant’s probation officer submitted an additional violation report.

 The report alleged that the Defendant had failed to complete the program at the Warren Family

 Mission. On the Court’s referral, the Defendant appeared before Magistrate Judge George J.

 Limbert on June 5, 2007 for a supervised release violation hearing. At the hearing the Defendant

 admitted to the violation.        The Magistrate Judge issued a Report and Recommendation
Case: 4:04-cr-00245-DAP Doc #: 1375 Filed: 06/11/07 2 of 2. PageID #: 4551




 recommending that the Court find that the Defendant violated the terms of her supervised release.

 The Defendant did not object to the Report and Recommendation.

        On June 11, 2007, the Court held a hearing and adopted the Report and Recommendation.

 The Court also implemented the ten-month sentence.

        Therefore, the Court ORDERS that the sentence imposed on January 10, 2007 take effect

 immediately. The Defendant is hereby committed to the custody of the Bureau of Prisons for a term

 of ten months. The Court recommends that the Defendant receive substance abuse treatment and

 counseling and mental health counseling. The Defendant’s supervised release is terminated.


        IT IS SO ORDERED.



 Issued: June 11, 2007                           s/ Peter C. Economus
                                             UNITED STATES DISTRICT JUDGE




                                                -2-
